12/20/21, 9:09 PM                                                        Summary - MyCase
         USDC IN/ND
            This         case
                 is not the      3:21-cv-00692-DRL-MGG
                            official                                      document
                                     court record. Official records of court proceedings14-2   filed
                                                                                         may only     01/07/22
                                                                                                  be obtained directlypage   1 of 11
                                                                                                                       from the
                court maintaining a particular record.


   SKEENS, ERIC BENSON V. STATE OF INDIANA
    Case Number                       35A05-0909-CR-00515

    Court                             Court of Appeals

    Type                              CR - Direct Appeals (Non Capital, Non-LWOP)

    Filed                             09/01/2009

    Status                            09/01/2009 , Closed

    Reference                         Original County Cause Number
                                               35C010812FA73


   Parties to the Case
   Appellant Skeens, Eric Benson
       Address
       Confidential Address

       Attorney
       Jeremy Kenneth Nix
       #2433035, Lead, Retained

       45 West Market Street
       P.O. Box 191
       Huntington, Indiana 46750
       260-358-4846(W)

       Attorney
       Cynthia M Carter
       #2330549, Retained

       212 W. 10th Street
       Suite D-320
       Indianapolis, IN 46202
       317-955-7997(W)


   Appellee     State of Indiana




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InFJc0JhZGFSelA0QnZfNXp1VlZQcFFzRnh2TGZMWEZtZTd0dkN… 1/11
12/20/21, 9:09 PM                                                      Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG
       Attorney                                                      document 14-2 filed 01/07/22 page 2 of 11
       Gregory F Zoeller
       #195898, Lead, Retained

       302 West Washington St.
       IGCS-5th Floor
       Indianapolis, Indiana 46204
       317-234-4669(W)

       Attorney
       Ann Lorraine Goodwin
       #2236553, Retained

       P.O. Box 199174
       Indianapolis, Indiana 46219
       317-462-3455(W)

       Attorney
       Curtis Theophilus Hill
       #1399920, Retained

       Indiana Attorney General
       302 West Washington Street
       IGCS-5th Floor
       Indianapolis, IN 46204
       317-232-6201(W)


   Chronological Case Summary
    09/01/2009 Notice of Appeal Filed in Trial Court
                    "NOTICE OF APPEAL FILED"


    09/09/2009 Converted Event
                    APPELLANT'S CASE SUMMARY BY JEREMY K. NIX, ATTY. FOR THE APPELLANT (2) CERTIFICATE OF SERVICE (2) MAIL MS
                    09/14/09


    09/15/2009 Notice of Completion of Clerk's Record
                    NOTICE OF COMPLETION OF CLERK'S RECORD (1) *TRANSCRIPT NOT YET COMPLETED* LH 9-21-09


    12/21/2009 Notice of Completion of Transcript
                    NOTICE OF COMPLETION OF TRANSCRIPT (1) MC 12/28/09


    12/31/2009 Converted Event
                    0001958-98; EMAIL SENT REGARDING TRANSMISSION OF ORDERS, OPINIONS & NOTICES TO ATTORNEY GREGORY
                    FRANCIS ZOELLER


    12/31/2009 Converted Event
                    0024330-35; EMAIL SENT REGARDING TRANSMISSION OF ORDERS, OPINIONS & NOTICES TO ATTORNEY JEREMY
                    KENNETH NIX


    01/11/2010 Converted Event
                    0024330-35;EMAIL RESPONSE RECEIVED REGARDING TRANSMISSION OF ORDERS, OPINIONS & NOTICES FROM ATTY
                    JEREMY NIX [DOCKET DATE MAY NOT REFLECT DATE RESPONSE RECEIVED. SEE FILE FOR ACTUAL DATE RECEIVED.]




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InFJc0JhZGFSelA0QnZfNXp1VlZQcFFzRnh2TGZMWEZtZTd0dkN… 2/11
12/20/21, 9:09 PM                                                        Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-2 filed 01/07/22 page 3 of 11
    01/20/2010 Appellant Brief and Appendix
                    APPELLANT'S BRIEF (9) AND THREE (3) VOLUME APPENDIX (1 GREEN) FILED. CERTIFICATE OF SERVICE (9) BY MAIL
                    01/20/10 AS 01/25/10


    01/25/2010 Converted Event
                    ****NOTE:COVER LTR REQUEST FILED STAMPED COPY OF BRIEF RETURNED. NOT ENOUGH COPIES TENDERED (9). RULE
                    23 LTR SENT. AS 01/25/10


    02/09/2010 Appearance
                    NOTICE OF APPEARANCE BY ANN GOODWIN, DAG, ATTY. FOR THE APPELLEE (2) CERTIFICATE OF SERVICE (2) BY MAIL
                    02/09/10 RB 02/10/10


    02/10/2010 Converted Event
                    0022365-53; EMAIL SENT REGARDING TRANSMISSION OF ORDERS, OPINIONS & NOTICES TO ATTORNEY ANN LORRAINE
                    GOODWIN


    02/10/2010 Trial Court Clerk Notified to Transmit Transcript
                    TRIAL COURT CLERK NOTIFIED TO TRANSMIT TRANSCRIPT.


    02/10/2010 Converted Event
                    3 VOL. APPENDIX (1-GREEN) RELEASED TO DAG, GOODWIN. RB 02/10/10


    02/10/2010 Card in Box for Release of Transcripts
                    ****NOTE: CARD IN BOX FOR RELEASE OF TRANS. WHEN IT ARRIVES.


    02/10/2010 Converted Event
                    0022365-53; EMAIL RESPONSE RECEIVED REGARDING TRANSMISSION OF ORDERS, OPINIONS & NOTICES FROM ATTY
                    ANN GOODWIN. MS 02/11/10


    02/17/2010 Converted Event
                    APPELLEE'S VERIFIED MOTION TO SET NEW DUE DATE FOR THE BRIEF OF APPELLEE (6) CERTIFICATE OF SERVICE (6) BY
                    MAIL 2-17-10 LH 2-17-10


    02/22/2010 Converted Event
                    ISSUED THE ENCLOSED ORDER:


    02/22/2010 Converted Event
                    HAVING REVIEWED THE MATTER, THE COURT FINDS AND ORDERS AS FOLLOWS: APPELLEE'S VERIFIED PETITION FOR AN
                    EXTENSION OF TIME TO FILE BRIEF IS GRANTED, TO AND INCLUDING MARCH 9, 2010. JOHN G. BAKER, CHIEF JUDGE KJ
                    02/23/10


    02/23/2010 Converted Event
                    ****** ABOVE ENTRY MAILED ******


    03/09/2010 Appellee Brief
                    APPELLEE'S BRIEF (9) CERTIFICATE OF SERVICE (9) BY MAIL 03/09/10 ED 03/10/10


    03/16/2010 Documents Returned from Attorney/Party
                    3 VOL. APPENDIX (1-GREEN) RETURNED. ED 03/16/10 [A technical issue with this entry was corrected on 07/07/2015]


    03/17/2010 Trial Court Clerk Notified to Transmit Transcript
                    TRIAL COURT CLERK NOTIFIED TO TRANSMIT TRANSCRIPT. *SECOND* AB 03/17/10




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InFJc0JhZGFSelA0QnZfNXp1VlZQcFFzRnh2TGZMWEZtZTd0dkN… 3/11
12/20/21, 9:09 PM                                                      Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-2 filed 01/07/22 page 4 of 11
    03/26/2010 Trial Court Clerk Notified to Transmit Transcript
                    TRIAL COURT CLERK NOTIFIED TO TRANSMIT TRANSCRIPT. *THIRD* AB 03/26/10


    03/29/2010 Converted Event
                    ****NOTE: RECEIVED PHONE CALL FROM JENNY LAUX AT THE HUNTINGTON COUNTY CLERK'S OFFICE. THE TRANSCRIPT
                    IS BEING SENT TODAY. AB 03/29/10


    04/06/2010 Received Document from Trial Court/Agency Clerk
                    RECEIVED: THREE (3) VOLUME TRANSCRIPT, ONE (1) VOLUME EXHIBIT PLUS T/C FROM TRIAL COURT CLERK PA 04/06/10


    04/06/2010 Converted Event
                    3 VOL. TRANSCRIPT, 1 VOL. EXHIBIT PLUS T/C RELEASED TO DAG, GOODWIN. PA 04/06/10


    04/12/2010 Documents Returned from Attorney/Party
                    3 VOL. TRANSCRIPT, 1 VOL. EXHIBIT, T/C RETURNED ED 04/12/10


    04/13/2010 Case Fully Briefed
                    FULLY BRIEFED INFORMATION: FILED 09/09/09 F.B. 04/13/10 O.A. NONE AB 04/13/10


    04/13/2010 Transmitted to Court of Appeals
                    TRANSMITTED APPEALS ************04/13/10*********** AB 04/13/10


    08/25/2010 Converted Event
                    0001958-98; EMAIL ADDRESS PREVIOUSLY CONFIRMED FOR ATTORNEY GREGORY FRANCIS ZOELLER


    08/25/2010 Opinion Issued
                    ISSUED THE ENCLOSED OPINION:


    08/25/2010 Converted Event
                    2010 TERM AFFIRMED/REVERED/REMANDED------BROWN, J. NAJAM, J. AND VAIDIK, J. CONCUR MEMORANDUM
                    DECISION/NOT FOR PUBLICATION 28 PAGES ENTERED 8/25/10 KM


    08/25/2010 Converted Event
                    ****** ABOVE ENTRY MAILED ******


    09/24/2010 Converted Event
                    APPELLANT'S PETITION TO TRANSFER (9) CERTIFICATE OF SERVICE (9) BY MAIL 09/24/10. ENTERED ON 09/30/10 KSB


    10/18/2010 Converted Event
                    APPELLEE'S NOTICE REGARDING TRANSFER (6) CERTIFICATE OF SERVICE (6) BY MAIL 10/18/10 ENTERED ON 10/19/10 MS


    10/20/2010 Converted Event
                    ***********TRANSMITTED ON TRANSFER 10/20/10*********** ENTERED ON 10/20/10 AB


    10/20/2010 Converted Event
                    CASE BUNDLE SENT TO STATEHOUSE ENTERED ON 10/20/10 AV




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InFJc0JhZGFSelA0QnZfNXp1VlZQcFFzRnh2TGZMWEZtZTd0dkN… 4/11
12/20/21, 9:09 PM                                                      Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-2 filed 01/07/22 page 5 of 11
    11/03/2010 Converted Event
                    THIS MATTER HAS COME BEFORE THE INDIANA SUPREME COURT ON A PETITION TO TRANSFER JURISDICTION
                    FOLLOWING THE ISSUANCE OF A DECISION BY THE COURT OF APPEALS. THE PETITION WAS FILED PURSUANT TO
                    APPELLATE RULE 57. THE COURT HAS REVIEWED THE DECISION OF THE COURT OF APPEALS. ANY RECORD ON APPEAL
                    THAT WAS SUBMITTED HAS BEEN MADE AVAILABLE TO THE COURT FOR REVIEW, ALONG WITH ANY AND ALL BRIEFS
                    THAT MAY HAVE BEEN FILED IN THE COURT OF APPEALS AND ALL THE MATERIALS FILED IN CONNECTION WITH THE
                    REQUEST TO TRANSFER JURISDICTION. EACH PARTICIPATING MEMBER OF THE COURT HAS VOTED ON THE PETITION.
                    EACH PARTICIPATING MEMBER HAS HAD THE OPPORTUNITY TO VOICE THAT JUSTICE'S VIEWS ON THE CASE IN
                    CONFERENCE WITH THE OTHER JUSTICES. BEING DULY ADVISED, THE COURT NOW DENIES THE APPELLANT'S PETITION
                    TO TRANSFER OF JURISDICTION. RANDALL T. SHEPARD, CHIEF JUSTICE ALL JUSTICES CONCUR. (ORDER REC'D. 11/3/10 AT
                    2:00 P.M.) ENTERED 11/4/10 KM


    11/04/2010 Converted Event
                    ****** ABOVE ENTRY MAILED ******


    11/08/2010 Opinion Certified
                    ***************OPINION CERTIFIED*************** ENTERED ON 11/08/10 ED


    11/12/2010 Converted Event
                    **************RECEIPT RETURNED********** ENTERED ON 11/16/10 AV [A technical issue with this entry was
                    corrected on 07/07/2015]


    11/07/2012 Converted Event
                    3 VOL. TRANSCRIPT, 1 VOL. EXHIBIT, T/C & 3 VOL. APPENDIX & BREIFS RELEASED TO STATE PD PER CASE POOL KLM


    04/03/2013 Converted Event
                    VERIFIED NOTICE THAT THE RECORD WAS TRANSFERRED ON 03/20/13 TO STATE PD MERRYMAN ENTERED ON 04/04/13
                    KLM


    07/30/2013 Documents Returned from Attorney/Party
                    3 VOLUME TRANSCRIPT, 1 VOLUME EXHIBIT, T/C & 3 VOLUME APPENDIX & BRIEFS RETURNED KLM


    11/19/2014 Converted Event
                    APPELLANT'S PRO SE MOTION FOR COPY OF RECORD ON APPEAL (2) ENTERED ON 12/01/14 KF


    12/04/2014 Converted Event
                    THE COURT HAS ISSUED THE ATTACHED ORDER:


    12/04/2014 Order Issued
                    HAVING REVIEWED THE MATTER, THE COURT FINDS AND ORDERS AS FOLLOWS: 1. APPELLANT'S MOTION FOR COPY OF
                    RECORD ON APPEAL IS GRANTED 2. PERMISSION IS GRANTED FOR THE RECORD TO BE WITHDRAWN BY THE OFFICE OF
                    THE PUBLIC DEFENDER OF INDIANA OR BY ONE OF HIS DEPUTIES WHO IS LICENSED TO PRACTICE LAW IN THE STATE OF
                    INDIANA FOR A PERIOD OF NINETY (90) DAYS, FOR THE PURPOSE OF COPYING THE COPY TO BE TRANSMITTED TO THE
                    APPELLANT FOR EXAMINATION BY THE APPELLANT AT D.O.C. # 196051, INDIANA STATE PRISON, ONE PARK ROW
                    MICHIGAN CITY, IN 46360, PROVIDED HOWEVER, THAT IF THE PUBLIC DEFENDER HAS AGREED TO SERVE AS COUNSEL
                    FOR THE APPELLANT AND THE APPELLANT WISHES TO CONTINUE TO BE REPRESENTED BY THE PUBLIC DEFENDER,
                    THEN THE APPELLANT IS NOT ENTITLED TO A COPY OF THE RECORD OF PROCEEDINGS AT PUBLIC EXPENSE AND THE
                    PUBLIC DEFENDER IS RELIEVED OF THE OBLIGATION TO MAKE A COPY OF THAT RECORD, ANY CONTRARY LANGUAGE IN
                    THIS ORDER NOTWITHSTANDING. NANCY H. VAIDIK, CHIEF JUDGE (ORDER REC'D ON 12/04/14 @ 1:39 PM) ENTERED ON
                    12/05/14 BR




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InFJc0JhZGFSelA0QnZfNXp1VlZQcFFzRnh2TGZMWEZtZTd0dkN… 5/11
12/20/21, 9:09 PM                                                             Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-2 filed 01/07/22 page 6 of 11
    12/05/2014 Converted Event
                    ****** ABOVE ENTRY MAILED ******


    03/16/2015 Converted Event
                    CASE BUNDLE RELEASED TO STATE PD PER COPYLIST ORDER. ENTERED ON 03/16/15 AV [A technical issue with this entry
                    was corrected on 07/07/2015]


    03/18/2015 Converted Event
                    CASE BUNDLE RETURNED. ENTERED ON 03/18/15 AV


    07/14/2016          Received Document
                    Receive Date: 07/11/16 Motion for Release of Records from Atty. Carter - must be e-filed pursuant to App.R. 68.

                    PostmarkDate:                   07/06/2016

    07/14/2016          Letter Issued
                    Motion to Release Records

                    Party:                          Skeens, Eric Benson
                    Serve:                          Carter, Cynthia M
                    Date Sent:                      07/14/2016

    07/14/2016 Document Transmitted


    07/15/2016          Motion to Withdraw Record of Proceedings
                    Certificate of Service- Electronically Served 07/151/6

                    Attorney:                       Carter, Cynthia M
                    Requester:                      Carter, Cynthia M
                    File Stamp:                     07/15/2016

    07/20/2016          Order Issued
                    Having reviewed the matter, the Court finds and orders as follows: 1. The Motion for Release of Records is granted, and
                    the Clerk of this Court is authorized to release the Record on Appeal to Cynthia M. Carter. 2. No later than ninety (90)
                    days after the Record has been withdrawn from the Office of the Clerk of this Court, Cynthia M. Carter is ordered to
                    return the Record, intact, to the Office of the Clerk of the Court of Appeals of Indiana.

                    Judicial Officer:               Vaidik, Nancy H.
                    Serve:                          Zoeller, Gregory F
                    Serve:                          Goodwin, Ann Lorraine
                    Serve:                          Nix, Jeremy Kenneth
                    Serve:                          Skeens, Eric Benson
                    Serve:                          Carter, Cynthia M
                    File Stamp:                     07/20/2016

    07/20/2016 Document Transmitted


    07/25/2016 Record Released
                    to Atty Carter per order: Volumes of Transcripts 3 Volumes of Exhibits 1 Volumes of T/C 1 Volumes of Appendices 3
                    Briefs 1 set

                    Release Date:                   07/25/2016




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InFJc0JhZGFSelA0QnZfNXp1VlZQcFFzRnh2TGZMWEZtZTd0dkN… 6/11
12/20/21, 9:09 PM                                                               Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-2 filed 01/07/22 page 7 of 11
    10/19/2016          Motion for Extension to Keep Record
                    Certificate of Service- Electronically Served 10/17/16

                    Attorney:                        Carter, Cynthia M
                    Party:                           Skeens, Eric Benson
                    File Stamp:                      10/17/2016

    10/25/2016          Order Granting Motion for Extension of Time
                    Having reviewed the matter, the Court finds and orders as follows: 1. Appellant's Verified Motion for Extension of Time
                    is granted. 2. Within thirty (30) days of the date of this order, Appellant's counsel Cynthia M. Carter is ordered to either
                    (1) return the original Record on Appeal, intact, to the Office of the Clerk of the Court of Appeals of Indiana; or (2) file a
                    motion requesting additional time to retain the record.

                    Judicial Officer:                Vaidik, Nancy H.
                    Party:                           Skeens, Eric Benson
                    Serve:                           Zoeller, Gregory F
                    Serve:                           Carter, Cynthia M
                    File Stamp:                      10/24/2016

    10/25/2016 Document Transmitted


    01/31/2017          Order Issued
                    Having reviewed the matter, the Court finds and orders as follows: 1. Within fifteen (15) days of the date of this order,
                    Attorney Cynthia M. Carter is ordered to return the record on appeal to the Clerk of this Court or file a motion
                    requesting additional time to retain the record. 2. The Clerk of this Court is directed to send a copy of this order to the
                    parties and Attorney Cynthia M. Carter.

                    Judicial Officer:                Vaidik, Nancy H.
                    Serve:                           Goodwin, Ann Lorraine
                    Serve:                           Carter, Cynthia M
                    File Stamp:                      01/30/2017

    01/31/2017 Document Transmitted


    02/09/2017 Record Returned
                    Volumes of Transcripts 3 Volumes of Exhibits 1 Volumes of T/C 1 Volumes of Appendices 3 Briefs 1 set

                    Return Date:                     02/08/2017

    03/28/2019          Motion to Withdraw Record of Proceedings
                    Certificate of Service- Electronically Served 03/27/19

                    Attorney:                        Carter, Cynthia M
                    Requester:                       Skeens, Eric Benson
                    File Stamp:                      03/27/2019




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InFJc0JhZGFSelA0QnZfNXp1VlZQcFFzRnh2TGZMWEZtZTd0dkN… 7/11
12/20/21, 9:09 PM                                                              Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-2 filed 01/07/22 page 8 of 11
    04/02/2019          Order Granting Motion for Release of Record
                    Having reviewed the matter, the Court finds and orders as follows: 1. Appellant's Motion for Release of Records is
                    granted, and the Clerk of this Court is authorized to release the Record on Appeal to Attorney Cynthia M. Carter. 2.
                    Within ninety (90) days of the date of this order, Attorney Carter is ordered to either (1) return the original Record on
                    Appeal, intact, to the Office of the Clerk of the Court of Appeals of Indiana; or (2) file a motion requesting additional time
                    to retain the record. 3. Failure to timely return the record on appeal to the Clerk of this Court or to file a motion
                    requesting additional time to retain the record may result in an order to show cause why counsel should not be held in
                    contempt for failure to comply with this Court's orders.

                    Judicial Officer:                Vaidik, Nancy H.
                    Party:                           Skeens, Eric Benson
                    Serve:                           Carter, Cynthia M
                    Serve:                           Hill, Curtis Theophilus
                    File Stamp:                      04/02/2019

    04/02/2019 Document Transmitted


    04/15/2019 Record Released
                    to Atty Carter per order: Volumes of Transcripts 3 Volumes of Exhibits 1 Volumes of T/C 1 Volumes of Appendices 3
                    Briefs 3

                    Release Date:                    04/15/2019

    04/15/2019 Note
                    record was released 4/11/19 rather than 4/15/19.


    07/24/2019          Motion for Extension to Keep Record
                    Certificate of Service- Electronically Served 07/23/19

                    Attorney:                        Carter, Cynthia M
                    Party:                           Skeens, Eric Benson
                    File Stamp:                      07/23/2019

    07/30/2019          Order Granting Motion to Retain Record
                    Having reviewed the matter, the Court finds and orders as follows: 1. Appellant's Motion to Extend Release of Records is
                    granted. 2. Within ninety (90) days of the date of this order, Appellant's counsel Cynthia Carter is ordered to either (1)
                    return the original Record on Appeal, intact, to the Office of the Clerk of the Court of Appeals of Indiana; or (2) file a
                    motion requesting additional time to retain the record. 3. Failure to timely return the record on appeal to the Clerk of
                    this Court or to file a motion requesting additional time to retain the record may result in an order to show cause why
                    counsel should not be held in contempt for failure to comply with this Court's orders.

                    Judicial Officer:                Vaidik, Nancy H.
                    Party:                           Skeens, Eric Benson
                    Serve:                           Goodwin, Ann Lorraine
                    Serve:                           Nix, Jeremy Kenneth
                    Serve:                           Skeens, Eric Benson
                    Serve:                           Carter, Cynthia M
                    Serve:                           Hill, Curtis Theophilus
                    File Stamp:                      07/30/2019

    07/30/2019 Document Transmitted




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InFJc0JhZGFSelA0QnZfNXp1VlZQcFFzRnh2TGZMWEZtZTd0dkN… 8/11
12/20/21, 9:09 PM                                                              Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-2 filed 01/07/22 page 9 of 11
    12/13/2019          Order Issued
                    Having reviewed the matter, the Court finds and orders as follows: 1. Within seven (7) days of the date of this order,
                    Attorney Cynthia M. Carter is ordered to return the original record on appeal for Cause Number 35A05-0909-CR-515 to
                    the Clerk of this Court, to file a motion requesting additional time to retain the record, or to show cause why she is
                    unable to comply with this order. 2. The Clerk of this Court is directed to send this order to the parties and to Attorney
                    Carter.

                    Judicial Officer:               Vaidik, Nancy H.
                    Serve:                          Goodwin, Ann Lorraine
                    Serve:                          Nix, Jeremy Kenneth
                    Serve:                          Skeens, Eric Benson
                    Serve:                          Carter, Cynthia M
                    Serve:                          Hill, Curtis Theophilus
                    File Stamp:                     12/13/2019

    12/13/2019 Document Transmitted


    12/17/2019          Motion for Extension to Keep Record
                    Certificate of Service- Electronically Served 10/16/19, as stated

                    Attorney:                       Carter, Cynthia M
                    Party:                          Skeens, Eric Benson
                    File Stamp:                     12/16/2019

    12/17/2019          Motion to Retain Record
                    Certificate of Service- Electronically Served 12/17/19

                    Attorney:                       Carter, Cynthia M
                    Party:                          Skeens, Eric Benson
                    File Stamp:                     12/17/2019

    12/20/2019          Order Issued
                    Having reviewed the matter, the Court finds and orders as follows: 1. Appellant's Amended Motion to Extend Release of
                    Records is granted in part. 2. Within ninety (90) days of the date of this order, Appellant's counsel Cynthia Carter is
                    ordered to either (1) return the original Record on Appeal, intact, to the Office of the Clerk of the Court of Appeals of
                    Indiana; or (2) file a motion requesting additional time to retain the record. 3. Failure to timely return the record on
                    appeal to the Clerk of this Court or to file a motion requesting additional time to retain the record may result in an order
                    to show cause why counsel should not be held in contempt for failure to comply with this Court's orders.

                    Judicial Officer:               Vaidik, Nancy H.
                    Serve:                          Goodwin, Ann Lorraine
                    Serve:                          Nix, Jeremy Kenneth
                    Serve:                          Skeens, Eric Benson
                    Serve:                          Carter, Cynthia M
                    Serve:                          Hill, Curtis Theophilus
                    File Stamp:                     12/19/2019

    12/20/2019 Document Transmitted


    03/23/2020          Motion to Retain Record
                    Certificate of Service- Electronically Served 03/23/20

                    Attorney:                       Carter, Cynthia M
                    Party:                          Skeens, Eric Benson
                    File Stamp:                     03/23/2020




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InFJc0JhZGFSelA0QnZfNXp1VlZQcFFzRnh2TGZMWEZtZTd0dkN… 9/11
12/20/21, 9:09 PM                                                              Summary - MyCase
        USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-2 filed 01/07/22 page 10 of 11
    03/25/2020          Order Granting Motion to Retain Record
                    Having reviewed the matter, the Court finds and orders as follows: 1. Appellant's Motion to Extend Release of Records is
                    granted in part. 2. Within ninety (90) days of the date of this order, Appellant's counsel Cynthia Carter is ordered to
                    either (1) return the original Record on Appeal, intact, to the Office of the Clerk of the Court of Appeals of Indiana; or (2)
                    file a motion requesting additional time to retain the record. 3. Failure to timely return the record on appeal to the Clerk
                    of this Court or to file a motion requesting additional time to retain the record may result in an order to show cause why
                    counsel should not be held in contempt for failure to comply with this Court's orders.

                    Judicial Officer:                Bradford, Cale J.
                    Party:                           Skeens, Eric Benson
                    Serve:                           Goodwin, Ann Lorraine
                    Serve:                           Nix, Jeremy Kenneth
                    Serve:                           Skeens, Eric Benson
                    Serve:                           Carter, Cynthia M
                    Serve:                           Hill, Curtis Theophilus
                    File Stamp:                      03/25/2020

    03/25/2020 Document Transmitted


    05/14/2020          Request for Transmission of Separately Filed Exhibit
                    Certificate of Service- Electronically Served 05/14/20

                    Attorney:                        Carter, Cynthia M
                    Party:                           Skeens, Eric Benson
                    File Stamp:                      05/14/2020

    05/22/2020          Order Issued
                    Having reviewed the matter, the Court finds and orders as follows: 1. Appellee's Verified Motion to Transmit Direct
                    Appeal Record into the Post-Conviction Case is granted. 2. Within fifteen (15) days of the date of this order, the
                    Huntington Circuit and Superior Courts Clerk is ordered to transmit the record on appeal from Cause Number 35A05-
                    0909-CR-515 (which was admitted into evidence as an exhibit in Cause Number 35C01-1101-PC-4 during that
                    postconviction proceeding) to the Clerk of this Court. 3. Upon its return, the Clerk of this Court is directed to transfer the
                    record on appeal docketed under Cause Number 35A05-0909-CR-515 to Cause Number 20A-PC-686 to be included as
                    part of the record for that postconviction appeal. 4. The Clerk of this Court is directed to file a copy of this order under
                    Cause Numbers 35A05-0909-CR-515 and 20A-PC-686. 5. The Clerk of the Court is directed to send this order to the
                    parties and the Huntington Circuit and Superior Courts Clerk. 6. The Huntington Circuit and Superior Courts Clerk is
                    directed to file a copy of this order under Cause Number 35C01-1101-PC-4 and, pursuant to Indiana Trial Rule 77(D), the
                    Clerk shall place the contents of this order in the Record of Judgments and Orders.

                    Judicial Officer:                Bradford, Cale J.
                    Serve:                           Goodwin, Ann Lorraine
                    Serve:                           Nix, Jeremy Kenneth
                    Serve:                           Carter, Cynthia M
                    Serve:                           Trial Clerk 35 - Huntington
                    File Stamp:                      05/22/2020

    05/22/2020 Document Transmitted


    06/05/2020 Record Returned
                    Volumes of Transcripts 3 Volumes of Exhibits 1 Volumes of T/C 1 Volumes of Appendices 3 Briefs 3

                    Return Date:                     06/05/2020




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InFJc0JhZGFSelA0QnZfNXp1VlZQcFFzRnh2TGZMWEZtZTd0dk…                     10/11
12/20/21, 9:09 PM                                                               Summary - MyCase
        USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-2 filed 01/07/22 page 11 of 11
    06/05/2020 Note
                    Three (3) volume Transcript, One (1) volume Exhibit, One (1) Table of Contents, Three (3) volume Appendix and set of 3
                    briefs transferred to 20A-PC-686 as a separately filed exhibit.


    08/11/2021 Note
                    3 vol. Trans., 1 vol. Exhibit, T/C, 3 vol. Appendix & 3 briefs returned to this case


    11/24/2021 Record Released
                    to DAG Drum: Volumes of Transcripts 3 Volumes of Exhibits 1 Volumes of T/C 1 Volumes of Appendices 3 Briefs 3 File
                    Folders 1

                    Release Date:                    11/24/2021




                This is not the official court record. Official records of court proceedings may only be obtained directly from the
                court maintaining a particular record.




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InFJc0JhZGFSelA0QnZfNXp1VlZQcFFzRnh2TGZMWEZtZTd0dk…             11/11
